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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

MITCHELL A. POHL, D.D.S.,

             Plaintiff,

v.                                            CASE NO.: 4:17cv181-MW/MAF

MH SUB I, LLC,
d/b/a Officite,

           Defendant.
_______________________________/

          ORDER DENYING DEFENDANT’S SECOND RENEWED
                MOTION FOR SUMMARY JUDGMENT

      This Court has considered, without hearing, Defendant’s Second Renewed

Motion for Summary Judgment, ECF No. 144, Plaintiff’s Response, ECF No. 146,

Defendant’s Reply, ECF No. 147, and all related exhibits. Defendant seeks summary

judgment on three grounds. First, Defendant seeks partial summary judgment for

infringement as it relates to the websites for which Defendant has produced no

physical evidence. Second, Defendant argues that Plaintiff cannot prove ownership

of a valid copyright registration. Finally, Defendant contends that Plaintiff’s before-

and-after photograph at issue was never copyrighted. For the following reasons,

Defendant’s motion is DENIED.
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                       SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriately granted when “the movant shows that

there is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). A “genuine” dispute exists “if

the evidence is such that a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Facts are

“material” with respect to the substantive law if they form disputes that are not

“irrelevant or unnecessary” and have the potential to “affect the outcome of the suit.”

Id. A nonmoving party’s failure to provide sufficient evidence of an element for

which it bears the burden of proof at trial mandates the entry of summary judgment

for the moving party, “since a complete failure of proof concerning an essential

element . . . necessarily renders all other facts immaterial.” Celotex Corp. v. Catrett,

477 U.S. 317, 323 (1986). As it must, this Court accepts the facts in the light most

favorable to the nonmovant, see Galvez v. Bruce, 552 F.3d 1238, 1241 (11th Cir.

2008), and it may not weigh conflicting evidence to resolve disputed factual issues,

see Skop v. City of Atlanta, Ga., 485 F.3d 1130, 1140 (11th Cir. 2007).1




       1
        This Court does not reiterate the facts underlying the lawsuit in this Order. The cases
procedural posture and the relevant facts are fully summarized in ECF Nos. 61 and 139.
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                                 INFRINGEMENT

      Defendant contends that partial summary judgment should be entered for

Plaintiff’s claim of infringement relating to any websites other than Miller, Cetel,

and Jolley. ECF No. 144, at 15. Plaintiff’s affidavit precludes summary judgment.

Specifically, Plaintiff testified that he performed a Google image search of the

before-and-after photographs and discovered the photographs on seven different

websites. ECF No. 40-1, ¶¶ 21–22. Moreover, while this Court struck some of the

website screenshots for lack of authentication, it allowed Plaintiff to authenticate the

screenshots during the trial. ECF No. 129, at 19. For these reasons, Defendant’s

motion for partial summary judgment as to infringement is denied.

                   OWNERSHIP OF A VALID COPYRIGHT

      Defendant next argues that Plaintiff cannot prove ownership of a valid

copyright because he does not know which version of his website was downloaded

on a disc and submitted to the copyright office (ECF No. 32-1, at 10–11), he does

not know whether he has a copy of the deposit material submitted with the

registration (ECF No. 130-4, at 7), and the Copyright Office cannot confirm the

content of the deposit disc Plaintiff submitted (ECF No. 130-8, at 4 (“[T]he compact

disc deposited with the registration is damaged. Although the work is registered, we

are unable to open, review or reproduce the files contained on the compact disc.”)).

However, “[a] certificate of registration ‘constitute[s] prima facie evidence of the

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validity of the copyright and of the facts stated in the certificate.’ ” Pohl v. MH Sub

I LLC, 770 F. App’x 482, 486 (11th Cir. 2019) (citing 17 U.S.C. § 410(c)). And

“[o]nce a plaintiff produces a certificate of registration, the burden shifts to the

defendant to establish that the work in which the copyright is claimed is

unprotectable (for lack of originality).” Id. In this case, a certificate of registration is

issued, ECF No. 49-3, at 2, and the Eleventh Circuit has stated that originality is an

issue for the jury. Summary judgment is, therefore, inappropriate on the issue of

ownership of a valid copyright.

                              WORK COPYRIGHTED

       Before defining the issue, it is important to discuss what is not at issue in this

motion. The issue is not whether Plaintiff owns a valid copyright. As discussed

above, he does. Additionally, Defendant does not seek to invalidate Plaintiff’s

copyright due to fraud on the Copyright Office. Therefore, the line of cases that

require scienter for invalidating a copyright are inapplicable here. See, e.g., Roberts

v. Gordy, 877 F.3d 1024, 1030 (11th Cir. 2017) (“[I]n order to invalidate a

registration, (1) the application must contain inaccuracies, (2) the inaccuracies must

be material, and (3) the applicant must have the required scienter of intentional or

purposeful concealment.”); see also Eleventh Circuit Pattern Jury Instruction § 9.8

(2020). Instead, Defendant argues that Plaintiff registered the 2000 version of his




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website, 2 which did not—and could not— include the before-and-after photograph

at issue in this litigation, and not the 2005 version of his website, which could include

the before-and-after photograph. 3 The issue is what Plaintiff registered with the

Copyright Office, i.e., what was copyrighted?

       Plaintiff insists that he intended to copyright the 2005 version of his website.

ECF No. 145-1, ¶ 6. But, “the copyright act imposes no intent requirement.” Gallup,

Inc. v. Kenexa Corp., 149 F. App’x 94, 95 (3d Cir. 2005).4 It does not matter what

Plaintiff intended to register because “such a requirement would be inconsistent with

the formalistic nature of the registration process . . . .” Id. (citations omitted).

Plaintiff cites no authority, and this Court did not find any, for the proposition that

it is Plaintiff’s intention—rather than the copyright registration—that determines the

scope of the copyright.




       2
           An argument supported by the copyright registration. ECF No. 49-3.

       3
         It is unclear whether the before-and-after photograph was included in the 2005 version of
the website that was deposited with the Copyright Office. In response to Defendant’s request, the
Copyright Office furnished Defendant with certified materials related to the copyright at issue.
ECF No. 130-8. The Copyright Office certified that the compact disc deposited was damaged, and
the information contained in it was irretrievable. ECF No. 130-8, at 4. The Copyright Office further
attached a “true representation of the front of the compact disc and the front of the compact disc
cover and text material deposited with this registration.” ECF No. 130-8, at 4. While the printed
material contains before-and-after photographs, it does not contain the one at issue in this case.
This Court will, therefore, submit a special interrogatory to the jury on this question.
       4
        There is an exception to this rule. See 17 U.S.C. § 411 (requiring scienter to invalidate a
copyright registration).
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       Further, contrary to Plaintiff’s argument, this Court did not hold that the

deposit materials always determine the scope of the registration. Context matters.

After this Court issued its Summary Judgment Order, ECF No. 61, additional facts

came to light that necessitated the renewed motion for summary judgment.

Specifically, the email exchange between Plaintiff and the Copyright Office, where

Plaintiff chose a “special relief” that allowed him to deposit the 2005 version of his

website while registering the 2000 version—a relief that was granted. ECF No. 130-

8, at 3; see also ECF No. 49-3, at 3 (“Special relief granted under 37 C.F.R.

202.20(d)”).

       While an extremely close call, there remains a genuine issue of material fact

underlying the legal question whether Plaintiff copyrighted the 2000 version or the

2005 version of the website. To resolve this issue, this Court will submit a special

interrogatory to the jury to determine which version of the website was copyrighted.5




       5
         If Defendant loses at trial, he may be on the hook for attorneys’ fees pursuant to 17
U.S.C. § 505 (“Except as otherwise provided by this title, the court may also award a reasonable
attorney’s fees to the prevailing party as part of the costs.”). Moreover, Defendant will be placed
under oath subject to penalties of perjury.
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                                 CONCLUSION

      Defendant’s motion for summary judgment, ECF No. 144, is DENIED. The

Clerk shall set a trial on an expedited basis in September or October.
      SO ORDERED on May 26, 2020.

                                       s/Mark E. Walker
                                       Chief United States District Judge




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